                                       Case 3:14-cr-00175-WHA Document 1528 Filed 11/30/21 Page 1 of 1




                                   1

                                   2                                 UNITED STATES DISTRICT COURT

                                   3
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   4

                                   5

                                   6   UNITED STATES OF AMERICA,
                                   7                   Plaintiff,                             No. CR 14-00175 WHA

                                   8            v.

                                   9   PACIFIC GAS AND ELECTRIC                               ORDER RE PRIVILEGE LOG
                                       COMPANY,
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13         The Court has reviewed the privilege log. It is impossible to judge whether the items on

                                  14   the privilege log truly warrant the attorney-client privilege. In order to test the privilege log,

                                  15   the Court requires that PG&E submit five of the items, ex parte and under seal, for in camera

                                  16   review by the judge. If the Court determines that they are privileged, they will be returned to

                                  17   PG&E.

                                  18         1. PGE‐DIXIE‐NDCAL‐000019776

                                  19         2. PGE‐DIXIE‐NDCAL‐000019790

                                  20         3. PGE‐DIXIE‐NDCAL‐000019806

                                  21         4. PGE‐DIXIE‐NDCAL‐000020075

                                  22         5. PGE‐DIXIE‐NDCAL‐000020090

                                  23         Please submit the above by FRIDAY, DECEMBER 3 AT NOON.

                                  24        IT IS SO ORDERED.

                                  25   Dated: November 30, 2021.

                                  26

                                  27
                                                                                                WILLIAM ALSUP
                                  28                                                            UNITED STATES DISTRICT JUDGE
